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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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AMERICAN GREENFUELS ROCKWOOD
(TENNESSEE), LLC,
Plaintiff,
-V-
ATK CHUAN CONSTRUCTION PTE. LTD.,
Defendant.
Zlcev?7680 (DLC)
ORDER
ATK CHUAN CONSTRUCTION PTE. LTD.,
Counterclaim Plaintiff,
-Y-
KOLMAR AMERICAS, INC. and AMERICAN
GREENFUELS ROCKWOOD (TENNESSEE), LLC,
Counterclaim Defendants.
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DENISE COTE, District Judge:

An Opinion of November 20, 2023 held that the plaintiff is
entitled to judgment on its breach of contract claim and the
counterclaim defendants are entitled to judgment on Aik Chuan’s
counterclaims. It is hereby

ORDERED that by November 27, 2023, the plaintiff shall
provide the defendant with its proposed judgment. The parties

shall promptly confer and attempt to resolve any disputes. A

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proposed judgment and any objections to it shall be filed by

November 30, 2023.

Dated: New York, New York
November 20, 2023

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